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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  STATE OF TEXAS, et al.,                                 )
                                                          )
                         Plaintiffs,                      )
                                                          )
         v.                                               )
                                                          )
  GOOGLE LLC,                                             ) Civil Action No. 4:20-cv-00957-SDJ
                                                          )
                                                          )
                         Defendant.                       )
                                                          )
                                                          )

                                              ORDER

        Before the Court is the United States’ Motion for Leave to File Statement of Interest. In

 the Motion, the United States requests leave to file a Statement of Interest to address certain

 issues related to the parties’ Joint Motion for an Order for Reproduction of Discovery (“Joint

 Motion”). See Dkt. No. 402.

        Having considered the Motion, the Court is of the opinion that it should be and hereby is

 GRANTED. It is therefore ORDERED that the United States is permitted leave to file the

 Statement of Interest, and shall do so on or before May 1, 2024.




                                                               Sean D. Jordan
                                                               United States District Judge
